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13           ELIZA BETH SINES
                                        etal.                            daseNo:3:17-cv-00072-NKM
14                         -         Plaintif,
15                                                                                                      ,
             vs.                                                         D EFEN DAN T RICH AIID SPEN CER SM OTION FOR
16                                                                       PERM ISSION TO PA RTICIPATE IN ELECTRONIC
             JASON KESSLEK etaI.,                                        FILING
17                       oefendp t
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                                    DefendantRichard Spencermovesforpermission toparticipatein electronicfiling.
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                                    DefendantSpencercertitiesthatheiscomputerliterateandhasfullandup-to-dateInternetaccess. '
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             Ii1lightofhisrepresentativeJohn DiNucci'srecentmotiontowithdrawal- andM r.Spencer'soppositionto this
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             motion- heisinneedamaking supplementaladditionstotheprocesshimself Thiscan swiftlybedonetlzrough
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             electronicfilirig,avoidingtheslowerandmorecumbersomeU.S.mail.
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25                                               .
                                    Dated this29ofM ay,2020.
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28                                                                        'chardB.Spencer



             RICHARD B.SPENCER'S POSITION ON PENDING M OTION TO W ITHDRAW -1
